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UNITED STATES COMMODITY                                         *
FUTURES TRADING COMMISSION,
                                                                *
                   Plaintiff,
                                                                *                                 ERED:
vs.
                                                                *                                     ~;;6:J>J?L~
ANTHONY J. KLATCH II; AMERICAN
PRIVATE EQUITY, LLC; ARM CAPITAL                                *
MANAGEMENT, LLC; TASK CAPITAL                                                         Dated:         MAR 0 8 2017
MANAGEMENT, LLC; VIGILANT                                       *
CAPITAL MANAGEMENT, LLC,
                                                                *
                   Defendants.
                                                                *
      RECEIVER'S FINAL REPORT AND MOTION TO DISCHARGE RECEIVER AND
                           CLOSE RECEIVERSHIP

         Mark V. Silverio, the court-appointed receiver ("Receiver") for Anthony J. Klatch, II

(hereinafter "Klatch"); American Private Equity, LLC; ARM Capital Management, LLC; Task

Capital Management, LLC; Vigilant Capital Management, LLC ("Receivership Entities" or

"Estate"), hereby files this motion seeking an Order of the Court discharging the Receiver and

closing the Receivership, and in support thereof states:

                                                  I. FINAL REPORT

         1.        Receiver made three (3) disbursements to the defrauded investors; (i) $300,000 on

July 23, 2013; (ii) $875,000 on November 27, 2013; and (iii) $25,025 on April 25, 2014.

Attached are two (2) reports the Receiver filed with the court documenting these distributions

(dollar amount and dates of distribution); both attached as Exhibit A and B.




        SILVERIO   &   HALL.   P.A. •   255 8TH STREET SOUTH, NAPLES, FLORIDA 34102    •   TE.L. (239) 649-1001
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        2.          Receiver has $3,771.36 left in the receivership account. He will await instructions

from the Commission as to the disposition of these funds. All other investor funds have been

distributed to them.

        3.          This report will be filed and sent to Richard Glaser, Commodity of Future Trading

Commission, The Lafayette Center, 1155 21st Street NW, Washington, DC 20581.

              II.        DISCHARGE OF RECEIVER AND CLOSE RECEIVERSHIP

        1.          Pursuant to the Final Judgment in the case on March 19, 2014 (Exhibit C), Klatch

was required to make restitution of over $16 million plus interest. The payments were required to

be paid to the Receiver, but he has not received any payments to date. Receiver performed due

diligence to collect the Restitution Obligation and concluded that Klatch has little or no financial

ability to pay this Restitution Obligation. However, he did discover that Klatch made several

$500 payments (actual amounts unknown) direct to the Commission or to the US Attorney's

office in Alabama (where he was indicted and convicted). Receiver is not aware if Klatch is still

paying any Restitution.

       2.           It is unlikely that any additional funds or Restitution Obligations will be paid by

Klatch to the Receiver or to any other agency. Thus, it is unlikely that there will be any more

distributions to the investors.

       3.           Receiver has performed all the tasks and duties required of him under the Order of

December 1, 2011 appointing him as Receiver of Klatch and the Receivership Entities.

       WHEREFORE Receiver requests the court enter an order discharging the Receiver and

closing the Receivership.




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      DATED this               G::> day of March, 2017.


       WE HEREBY CERTIFY that a true and correct copy of the foregoing document is being
e-served on the above date to: Richard Glaser, Esq., U.S. Commodity Futures Trading
Commission, 1155 21 Street, NW, Washington, DC 20581, rn:laser(d,i<:::FTC.gov.


                                                        Mark V. Silverio, as Receiver
                                                        255 Eighth Street South
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                                                        Mark V .4lverio, Receiver
                                                        Florida Bar No. 150430




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